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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
REPUBLICAN NATIONAL                           )
COMMITTEE,                                    )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Case No. 1:22-cv-00659-TJK
                                              )
NANCY PELOSI, et al.,                         )
                                              )
               Defendants.                    )
                                              )


                                   JOINT STATUS REPORT
       The parties file this joint status report ahead of the status conference scheduled with the

Court for March 16, 2022, at 3:00pm.

       1.      This case involves Plaintiff Republican National Committee’s (the “RNC”)

amended complaint for declaratory and injunctive relief to prohibit the enforcement and the

production of documents in response to a subpoena issued to salesforce.com, inc. (“Salesforce”)

by the U.S. House of Representatives Select Committee to Investigate the January 6th Attack on

the U.S. Capitol (the “Select Committee”), seeking information on Republican donors,

supporters, and other partners and internal deliberative materials.

       2.      On March 15, 2022, the RNC filed a motion for emergency relief in the form of

an expedited preliminary injunction asking the Court to enjoin Salesforce from producing

information in response to the subpoena, which was scheduled for today, March 16. Since the

RNC filed its motion for preliminary injunction, counsel for the Select Committee and Salesforce

have entered their appearances in this action and the parties have conferred on a proposed

briefing schedule on the RNC’s motion for preliminary injunction. Subject to the Court’s

approval and availability, the parties propose the following expedited schedule:

                  Monday, March 21, 2022: the Select Committee’s Opposition Brief, and any
                   responsive filing by Salesforce.
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                  Thursday, March 24, 2022 (by 5pm): the RNC’s Reply Brief.

                  On or before Wednesday, March 30, 2022: Hearing.

       3.      The Select Committee has agreed to postpone the return date on the subpoena

until March 30, 2022.

Respectfully submitted this 16th day of March, 2022.

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 U.S. HOUSE OF REPRESENTATIVES

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